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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

HENRY TANYIKE                                  :   Case No. 3:21-cv-00311
                                               :
                       Plaintiff,              :   District Judge Thomas M. Rose
                                               :   Magistrate Judge Peter B. Silvain, Jr.
   v.                                          :
                                               :   STIPULATION OF DISMISSAL
UNITED STATES OF AMERICA                       :
                                               :
                       Defendant.              :


        Plaintiff Henry Tanyike and Defendant United States hereby stipulate under Federal Rule

of Civil Procedure 41(a)(1)(ii) that this action be dismissed with prejudice as to all claims, causes

of action, and parties, with each party bearing its own attorney’s fees and costs.

Respectfully submitted on July 21, 2023.

Attorney for Plaintiff(s):                            Attorney for Defendant(s):

                                                      KENNETH L. PARKER
                                                      United States Attorney

s/ Jeremy Jong                                        s/ Margaret Castro
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                           CERTIFICATE OF SERVICE (CM/ECF)

       I hereby certify that on July 21, 2023, I electronically filed the foregoing with the Clerk
of Court using the ECF system which will send notification of such filing to the following:

MARGARET A. CASTRO
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                                                      s/ Jeremy Jong
                                                      Jeremy Jong
